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Attorney for United States

                           IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA
 LOREEN PALLAS,                           )
                                          )
              Plaintiff,                  )
                                          ) Case No. 3:13-cv-______________
 v.                                       )
                                          )
 CORDOVA COMMUNITY                        )
 MEDICAL CENTER, owned and                ) NOTICE OF REMOVAL
 operated by THE CITY OF                  )
 CORDOVA,                                 )
                                          )
       Defendant/Third-Party Plaintiff.   )
                                          )




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 CORDOVA COMMUNITY
                                             ) Case No. 3:13-cv-______________
 MEDICAL CENTER,
                                             )
                                             )
        Third-Party Plaintiff,
                                             )
                                             ) NOTICE OF REMOVAL
 v.
                                             )
                                             )
 NATIVE VILLAGE OF EYAK,
                                             )
 d/b/a ILANKA HEALTH CENTER,
                                             )
 PHILLIP HESS, MD, and JOAN
                                             )
 PHILLIPS,
                                             )
                                             )
        Third-Party Defendants.
                                             )

       The United States, via counsel, notifies this Court of the removal of this action from

the Superior Court for the State of Alaska. The notice is based on the following:

       1.      Plaintiff Loreen Pallas filed a Complaint in the Superior Court for the State

of Alaska, Third Judicial District at Anchorage, alleging tort claims against

Defendant/Third-Party Plaintiff Cordova Community Medical Center (“CCMC”), Case

No. 3AN-13-04935 Civil (“the State Action”). CCMC has filed an Amended Answer and

Third-Party Complaint against the Third-Party Defendants in the State Action alleging that

the Third-Party Defendants may be at fault and liable for apportionment of liability and

damages for the Plaintiff’s alleged injuries and claims. A copy of the Amended Answer

and Third-Party Complaint is attached with this Notice of Removal.

2.     The U.S. Attorney for the District of Alaska, Karen L. Loeffler, has certified that

with respect to the allegations of the Third-Party Complaint, the Third-Party Defendants

Phillip Hess, MD, and Joan Phillips are deemed to be employees of the federal government

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for purposes of the Federal Tort Claims Act, 28 U.S.C. §§ 2671-80. U.S. Attorney

Loeffler has further certified that, with respect to the allegations in the Third-Party

Complaint regarding the Third-Party Defendants’ alleged actions as medical providers for

the Native Village of Eyak d/b/a the Ilanka Community Health Center, Third-Party

Defendants Phillip Hess and Joan Phillips were acting within the scope of their federal

employment for purposes of certification and removal under the FTCA, 28 U.S.C. §

2679(d)(2). Thus, CCMC’s Third-Party Complaint against the Third-Party Defendants is

deemed to be an action against the United States under the FTCA. 28 U.S.C. § 2679(d)(1).

The U.S. Attorney’s Certification is filed concurrently with this Notice of Removal.

       3.      The remedy provided by the FTCA for tort claims against the United States

is the exclusive remedy, and this Notice of Removal is brought pursuant to 28 U.S.C. §§

2679(b)(1), 2679(d)(2).

       4.      A Notice of Filing Removal of a Civil Action, together with a copy of this

Notice of Removal, is being filed in the Superior Court for the State of Alaska, where the

State Action is pending.

       RESPECTFULLY SUBMITTED September 23, 2013, at Anchorage, Alaska.


                                                KAREN L. LOEFFLER
                                                United States Attorney

                                                s/Gary M. Guarino
                                                Assistant U.S. Attorney
                                                Attorney for United States


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CERTIFICATE OF SERVICE
I hereby certify that on September 23, 2013,
a copy of the foregoing was served electronically
on:

Charles W. Coe
David Shoup

s/ Gary M. Guarino




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